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       Attorneys for Defendant
   9   Harvey Weinstein
  10                        UNITED STATES DISTRICT COURT
  11                      CENTRAL DISTRICT OF CALIFORNIA
  12
       EMMA LOMAN, an individual,               Case No.: 2:18-cv-7310 CBM (KSx)
  13
                           Plaintiff,           DEFENDANT’S NOTICE OF
  14                                            MOTION AND MOTION TO
           v.
  15                                            DISMISS PLAINTIFF’S
       HARVEY WEINSTEIN, an                     COMPLAINT PURSUANT TO FED.
  16   individual,
                                                R. CIV. P. 12(b)(6)
  17                        Defendant.
                                                Date: May 21, 2019
  18                                            Time: 10:00 a.m.
                                                Courtroom: 8B
  19

  20            PLEASE TAKE NOTICE that, on May 21, 2018, at 10:00 a.m. in the
  21   Courtroom of the Honorable Consuela B. Marshall, First Street Courthouse, 350
  22   West 1st Street, Courtroom 8B, 8th Floor, Los Angeles, California 90012-4565,
  23   Defendant Harvey Weinstein, by and through his counsel of record, will move the
  24   Court to dismiss Plaintiff’s Civil Complaint for Damages (Dkt. 1) pursuant to Fed.
  25   R. Civ. P. 12(b)(6), as well as for any other relief as the Court deems just and
  26   proper.
  27            Defendant’s motion is based on this notice of motion and motion, the
  28   accompanying memorandum of law in support of Defendant’s motion, and all
                                                -1-
         DEFENDANT’S NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFF’S
                  COMPLAINT PURSUANT TO FED. R. CIV. P. 12(b)(6)
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   1   other facts and circumstances upon which the Court may take judicial notice.
   2         This motion is made following the conference of counsel pursuant to L.R. 7-
   3   3, which took place on March 20, 2019.
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   5   Dated: April 1, 2019                           KUPFERSTEIN MANUEL LLP
   6
                                                      /s/ Phyllis Kupferstein
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         DEFENDANT’S NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFF’S
                  COMPLAINT PURSUANT TO FED. R. CIV. P. 12(b)(6)
